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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 In re                                                          :   Chapter 11
                                                                :
 BLOCKBUSTER INC., et al.,1                                     :   Case No. 10-14997 (BRL)
                                                                :
                                                                :   (Jointly Administered)
                                     Debtors.                   :
 ---------------------------------------------------------------x

                        ORDER PURSUANT TO SECTION 1121(d)
                       OF THE BANKRUPTCY CODE, EXTENDING
                 EXCLUSIVE PERIODS FOR THE FILING OF A CHAPTER 11
                 PLAN AND SOLICITATION OF ACCEPTANCES THERETO

                  Upon the Motion,2 dated March 18, 2011, of Blockbuster Inc. and its debtor

 affiliates, as debtors and debtors in possession (each a “Debtor” and collectively, “Blockbuster”

 or the “Debtors”) in the above-captioned chapter 11 cases, pursuant to section 1121(d) of the

 Bankruptcy Code, requesting the extension of the period during which each of the Debtors has

 the exclusive right to file a chapter 11 plan to August 19, 2011 (the “Exclusive Filing Period”)

 and extension of the period during which each of the Debtors may solicit acceptances thereto to

 October 18, 2011 (the “Solicitation Period” and together with the Exclusive Filing Period, the

 “Exclusive Periods”), all as more fully set forth in the Motion; and this Court having jurisdiction

 to consider the Motion and grant the requested relief in accordance with 28 U.S.C. §§ 157 and

 1334 and the Standing Order M-61 Referring to Bankruptcy Judges for the Southern District of


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     The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are:
     Blockbuster Inc. (5102); Blockbuster Canada Inc. (1269); Blockbuster Digital Technologies Inc.
     (9222); Blockbuster Distribution, Inc. (0610); Blockbuster Gift Card, Inc. (1855); Blockbuster Global
     Services Inc. (3019); Blockbuster International Spain Inc. (7615); Blockbuster Investments LLC
     (6313); Blockbuster Procurement LP (2546); Blockbuster Video Italy, Inc (5068); Movielink, LLC
     (5575); Trading Zone Inc. (8588); and B2 LLC (5219).
 2
     Capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
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 New York Any and All Proceedings Under Title 11, dated July 10, 1984 (Ward, Acting C.J.);

 and consideration of the Motion and the relief requested therein being a core proceeding pursuant

 to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having provided notice of the Motion to the Notice Parties, and it

 appearing that no further notice need be given; and it appearing that the relief sought in the

 Motion is in the best interests of the Debtors, their estates, creditors, and all parties in interest,

 and that the legal and factual bases set forth in the Motion establish just and sufficient cause to

 grant the requested relief therein; IT IS HEREBY ORDERED THAT:

                 1.      The Motion is granted to the extent set forth herein.

                 2.      Pursuant to section 1121(d) of the Bankruptcy Code, each of the Debtor’s

 Exclusive Filing Period is extended through and including August 19, 2011.

                 3.      Pursuant to section 1121(d) of the Bankruptcy Code, each of the Debtor’s

 Solicitation Period is extended through and including October 18, 2011.

                 4.      The extension of the Exclusive Periods granted herein is without prejudice

 to such further requests that may be made pursuant to section 1121(d) of the Bankruptcy Code.

                 5.      This Court shall retain jurisdiction to hear and determine all matters

 arising from or related to the implementation, interpretation and/or enforcement of this Order.

 Dated: April 21, 2011
        New York, New York
                                                /s/Burton R. Lifland
                                                UNITED STATES BANKRUPTCY JUDGE




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